






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00119-CV






Amanda Lynette Roberts, Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 51ST JUDICIAL DISTRICT

NO. A-07-0175-CPS, HONORABLE JAY K. WEATHERBY, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N




		Appellant Amanda Lynette Roberts brought this accelerated appeal from the  district
court's final decree terminating her parental rights to her child, A.C.P.  Roberts's court-appointed
counsel has filed a motion to withdraw and an Anders brief, concluding that Roberts's appeal is
frivolous and without merit.  Counsel's brief meets the requirements of Anders by presenting a
professional evaluation of the record and demonstrating that there are no arguable grounds for
appeal.  See Anders v. California, 386 U.S. 738, 744 (1967); see also Taylor v. Texas Dep't of
Protective &amp; Regulatory Servs., 160 S.W.3d 641, 646-47 (Tex. App.--Austin 2005, pet. denied)
(applying Anders procedure in parental-rights termination appeal).

		Roberts was provided with copies of her counsel's brief and motion to withdraw
and advised of her right to examine the record and to file a pro se brief.  More than thirty days
have passed, and Roberts has not filed a pro se brief or communicated with this Court in any way. 
Because our review of the record reveals nothing that would arguably support an appeal, we
agree&nbsp;that the appeal is frivolous and without merit.  See Anders, 386 U.S. at 741-44; Taylor,
160&nbsp;S.W.3d at 646-47.  Accordingly, we affirm the district court's decree terminating Roberts's
parental rights and grant her counsel's motion to withdraw.


						                                                                                    

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Waldrop and Henson


Affirmed 


Filed:   October 7, 2009




